           Case 1:17-cv-05931-LTS-DCF Document 61 Filed 11/09/20 Page 1 of 1



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------X

 EFRAIN BATEN-PEREZ,

                                           Plaintiff(s),            17CV5931-LTS

                        -v-

 AK CAFÉ OF NY LLC ET AL.,

                                Defendant(s).
 ------------------------------------------------------------X




                                                            ORDER



            In light of the pending motion(s), the final pretrial conference scheduled for November 13,

 2020, is rescheduled to February 26, 2021, at 11:00 a.m. in Courtroom 17C.


            SO ORDERED.


 Dated: New York, New York
        November 9, 2020

                                                                     /s/ Laura Taylor Swain
                                                                    LAURA TAYLOR SWAIN
                                                                    United States District Judge




CV Order resched conf date pend mot.frm   version 5/22/09
